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      ot.~lmowl-,c.           .                      ;
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                               UNITED STATES BANKRUPTCY COURT


 in r.:
                              Debtor
                                                                               SmaH Business Cusc tinder Chapter l l


                                        SMALL BlJSINES5 ,'\10NTHLY OPERATfNG REPORT

                                                                           Date fitc-d:        Ocii> f>-?..,1.· I; -rJ, cfO I ~
 Lille'\)/ Llus1rn.:,s.   -   l>t'3er '?1J        r(Md,\1$ ~               /,;i\fS(' Cu<lc-      I ci d 5 J 3
 !N ACCOR.DA NC£ WITH TITLE ZR, SECTION 1746. OF THE UNITED STATJ::S CODE. I DECLARE UNDER PENALTY 01"
 PERJURY THAT l HAVE EXAMINED THE r;-oLLOWlNC SMALL l3US1NESS MONTHLY OPF,RA TING REPORT AND THE
 ACCOMPANYlNG ATTACHMENTS AND. TO THE BEST OF MY KNOWLEDCiE. THESE DOCUMENTS ARE TRUE.
 CORREC'T AND ('.()Mf'LETE




P,.n'*1011y ~vi6'Plit10         1        U!O , PZ> Foods. 4-v
 l'rrnted Nonk ufR¢ip<>mabl1;1 P:m::,,

                                                                                                                Yes       NP
          1$ THE BUSINESS STfLL OPt:HATIN(P
                                                                                                                ~         0
 2        Hi\VP. YOU PAID ALL YOUR BILLS ON TIME THIS          MONT!l' 1                                        ~·        0
 ;        DID \'0.U PAY YOUR EMPLOYEES ON T!Mll'!
                                                                                                                ~         u
          llAVI: YOU DEPOSITED ALL 1'.HE RECEIPTS roR YOUR BUS!NESS INTO THE rnr ACCOUNT                        ~'        0
           llllS Mt>Nf){'t
          H,\Vf;' YOU fl LED ALL OF YOUR TAX. RiffURNS AND PAID ALL OF YOUR TAXES THJS
          MONTI!
                                                                                                                p         0
6.        HAVE YOU TfMELY Fl LED ALL OTlfER REQUIRED GOVERNMENT FlL.JNGS'?                                      ti        0
          HAVE YOU PAID ALL OF YOUR INSURANCE PREMIUMS ·rHJS MONTH?                                            tg)        CJ
          DU Ye.HJ PLAN Tt) CONTINUE TO OPF.ltA TE THE BUSINESS NEXT MONTH?
                                                                                                                ~         0
          Alff. YOU nnt:RENT{)N YOUR.QUARTERLY FEI~ PAVMENT TO Tll~ U.S. tJWST!:.E?                             ¢         0
 10.

 !I
          !!AVE YOU PAID ANYTHlN<;i TO YOUR A'l1'0RNEY OR O'THER PROFESS!ONALS THlS
          MONTH''

          ;Y!ONTH''
                                    •
          DllJ YOU HAVE ANY UNUSUAL OR SlGNfflC/\NT UNAN'f!CllWrI:D EXPENSES THIS
                                                                                                                0

                                                                                                                0        ,ri
 12       H0-S THf:. BUSINESS SOLL> ANY GOODS OR l'ROVlDED SERVICES OR TRANSFEAAED ANY                          CJ       )SJ
          \)5!.'TS TO ,'\NY UUS!NESS REL./\TEP TO THE !)tP IN AN'i Wt\ Y'

 t .,     DO YOU HAVE ANY BANK ACCOUNTS OPEN OTHER Hl:\N THE t>IP ACCOUNT''                                     (J        ~
        Case 16-32021         Doc 182               Filed 11/28/17 Entered 11/28/17 14:25:22                 Desc Main
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                                                                                                                                    Page 2



14.    HAVE YOU SOLD ANY ASSETS OTHER THAN INVENTORY THIS MONTH?                                                  0                 M
15.    om ANY INSURANCE COMPANY CANCEL YOUR POLICY THIS MONTH?                                                    0                ixt
16.    HAVE YOU BORROWED MONEY FROM ANYONE THIS MONTH?                                                            0                L}{
17.    HAS ANYONE MADE AN INVESTMENT IN YOUR BUSINESS THIS MONTH?                                                 0                ·~
1:-:   1-IAVF. YOU PAID ANY BILLS YOU OWED BHORE YOU FILED BANKRUPTCY'?                                           0               '(¢

                                                        TAXES
DO YOU HAVE ANY PAST DUE TAX RETURNS OR PAST DUE !'OST-PETITION TAX                                               0
OBLIGATIONS?
IF YES, PLEASE PROVIDE A WRITTEN EXPLANATION INCLUDING WHEN SUCH RETURNS WILL
l:lF FILED, OR WHEN SUCH PAYMENTS WILL BE MADE AND THE SOURCE OF THE FUNDS FOR                                            I -r           f _ _IV
r11EPAYMENT.      .    ~                  $5&bl·t.f.'il
                                               r,,11YLUJ1Jfcv~tc//;                                12,e.,v.TtAXe~         M~        oe.e
       Pl UvLt       rJ{rf&                            (Ev/,/bir A)        y0oc>/ve-rl

                                                       INCOME
PLEASE SEPARATELY LIST ALL OF THE INCOME YOU RECEIVED FOR THE MONTH. THE LIST
SI IOULD INCLUDE ALL INCOME FROM CASH AND CREDIT TRANSACTIONS. (THE US. TRUSTEE
\/. l l lV.'1/ VE Tl/JS REQUJIIEMENTJ

                                                                                              TOTALINCOME     $       /
                                                                                                                          1   '?;/t;t/,IJ-1
                                 SUMMARY OF CASH ON HAND
                                     Cash on Hand at Start or Month                                           $     JJ..boo

                 '
                                     Cash on lfanct at r:nd or Month                                          $
                                                                                                                    J~ho o
l'U::.-\% PROV I DI: Tl IL: TOT1\L AMOUNT OF C ASIJ CURRENTLY AV i\lLABLE TO YOU                     TOTAL   $
                                                                                                                    ti I 71 ;}. 5         ?;
                                                       (fr/11/,/1 8)




                                                    EXPENSES
PLEASE SEPARATELY LIST ALL EXPENSES PAID BY CASH OR BY CHECK FROM YOUR BANK
ACCOUNTS THIS MONTH. INCLUDE THE DATE PAID, WHO WAS PAID THE MONEY, THE
PURPOSE AND THE AMOUNT. (THE U.S. TRUSTEE MAY WAIVE T/-1/S REQUIREMENT.)
                                                                                            TOTAL EXPENSES   $      /     3 /5 5(jp
                                                      (1:'xhihir CJ



                                                 CASH PROFIT
INCOME FOR THE MONTH (TOTAL FROM EX/-1/lJIT /JJ                                                              $    J3~ I./ J)__ 1
l<XPENSES FOR THE MONTH rT07:4L         FIIOM EXU/BIT CJ                                                     s    t '?;I 5!59V'
                              (Suht/'/lc:I /.111,·· (' /r11111 /.11w II>       CASH   PROFIT FOR THE MONTH   $    t/f 5'!;,7.,.-
  Case 16-32021                    Doc 182    Filed 11/28/17 Entered 11/28/17 14:25:22    Desc Main
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II 2:iC (Official Fnrm 25Cl r )2108)



                                                 UNPAID BILLS


PLEASE ATTACH A LIST OF ALL DEBTS (INCLUDING TAXES) WHICH YOU HA VE INCURRED
SINCE THE DATE YOU FILED BANKRUPTCY BUT HAVE NOT PAID. THE LIST MUST INCLUDE
Tl-IE DATE THE DEBT WAS INCURRED, WHO IS OWED THE MONEY, THE PURPOSE OF THE
DEBT AND WHEN THE DEBT IS DUE. (THE U.S. TRUSTEE MAY WAIVE THIS REQUIREMENT.)
                                                                           TOT AL p A y ABLES   $   /WI           ()-ff()

                                                   (txhihit VJ
                                                                                          ~·ffJ1&tb~
                                             MONEY OWED TO YOU
PLEASE ATTACH A LIST OF ALL AMOUNTS OWED TO YOU BY YOUR CUSTOMERS FOR WORK
YOU HA VE DONE OR THE MERCHANDISE YOU HAVE SOLD. YOU SHOULD INCLUDE WHO
OWES YOU MONEY, HOW MUCH IS OWED AND WHEN IS PAYMENT DUE. (THE U.S. TRUSTEE MAY
WAIVE THIS REQUIREMENT.)
                                                                        TOTAL RECEIVABLES       $

                                                   (Exhihit E)



                                             BANKING INFORMATION
PLEASE ATTACH A COPY OF YOUR LATEST BANK STATEMENT FOR EVERY ACCOUNT YOU
HA VE AS OF THE DATE OF THIS FINANCIAL REPORT OR HAD DURING THE PERIOD COVERED
BY THIS REPORT.


                                                   (tx:hihit F)



                                                 EMPLOYEES
NUMBER OF EMPLOYEES WHEN THE CASE WAS FILED?                                                             ot57
                                                                                                     .   --   .   ··--·····
NUMBER OF EMPLOYEES AS OF THE DATE OF THIS MONTHLY REPORT?
                                                                                                         ~L
                                              PROFESSIONAL FEES
/l.4NKRUPTCl' RELATED.
PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID DURING THIS REPORTING
PERIOD?                                                                                         $

TOTAL PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID SINCE THE FILINCi                  $   /'   l      ,:::O/J.          ii
                                                                                                            1             1
OF THE CASE?                                     .                                                   ...,.(7-. J       rt17<      7
NON-BANKRUPTCY RELATED.
PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID DURING THIS
REPORTING PERIOD')                                                                              $

TOTAL PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID SINCE THE
FILING OF THE CASE?                                                                             $
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B 25C (Official Fonn 25C) (12/08)




                                                  PROJECTIONS


COMPARE YOUR ACTUAL INCOME AND EXPENSES TO THE PROJECTIONS FOR THE FIRST 180
DAYS OF YOVR CASE PROVIDED AT THE INITlAL DEBTOR INTERVIEW.
                                    Projected                 Actual            Difference
INCOME                 $
EXPENSES              $

CASH PROFIT           $



TOTAL PROJECTED INCOME FOR THE NEXT MONTH:                                                      $

TOTAL PROJECTED EXPENSES FOR THE NEXT MONTH:                                                    $
                                                                                                    -----·---·-·------·--
TOTAL PROJECTED CASH PROFIT FOR THE NEXT MONTH:                                                 $




                                                    ADDITIONAL INFORMATION

PLEASE AITACH ALL FINANCIAL REPORTS INCLUDING AN INCOME STATEMENT AND BALANCE SHEET
WHICH YOU PREPARE INTERNALLY.
                                       Case 16-32021                  Doc 182            Filed 11/28/17 Entered 11/28/17 14:25:22   Desc Main
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                                                           P3 Foods, LLC
                                                          Bal an ce Sheet
                                                      (Debtor In Possessi.on)
                                                        October 31, 2017
                                                  (See Notes to Balance Sheet)

                 Assets                                            Liabilities and Capital
Current Assets                                                     Current Liabilities
Cash on Hand
  Store 139                          ? .....     !,lll:IP.         Accounts/Notes Payable-Pre Filing      $2,471,022
  Store 2423                          $          1,400
  Store 2794                          $          1,400
  Store 2920                          $          1,400
  Store 3519                          $          1,400
  Store 3970                          $          1,400
  Store 4006                          $          1,400
  Store 4669                          $          1,400
  Store 13662                         $          1,400
Total Cash on Hand                    $        12,600


Cash in Bank
  Main                                         $55,548
  Store 139                                    $59,301
  Store 2423                                   $28,517
  Store 2794                                   $24,915
  Store 2920                                   $33,485
  Store 3519                                   $59,107
  Store 3970                                   $61,768
  Store 4006                                   $22,666
  Store 4669                                   $24,519
  Store 13662                                  $34,827
Total Cash in Bank                    $        404,653
Total Current Assets                  $        417,253             Total Current Liabilities             $2,471,022
Fixed Assets
   Furniture, Fixtures & Equipment    $ 1,047,Sn
   Auto                               $         22,000
Total fixed Assets                    $ 1,069,572
Leasehold Improvements                $        322,473
Franchise Fee                         $         25,000             Capital                               $ (661,724}
Total Assets                          $ 1,809,298                  Total Uabflities & Capital            $1,809,298
                                                                       Case 16-32021                               Doc 182                     Filed 11/28/17 Entered 11/28/17 14:25:22                                                                      Desc Main
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                                                                                                       P3 Foods,LLC
                                                                                             Debtor In Possession
                                                                   Comolidated and lndlvldual Store Income Statement cash. Basts
                                                                            October 1,- October 31, 2017
                                                                             (See Notes to lrlcome Statement)
5'.QfO!Numbeu                          Af!Stores           %to Sales            139               %to Sales        2423     %to Sales          ;!794     %to Sales        2920       %to Sates        3519       % to Sales       3970     %to Sales       4006       %to5ales            4669             %to Sales        1366.2      % to $ales


Gto.,Sll:ii-                                1,364,127          100.00% $              304,816       100.00% $ 149,186         100.00%          96,246      100.00%    $   118,403      100.00%    $ 180,327        100,00%    $ 173,588      100.00% $ 102,725          100.00%           108,960            100.00% $ 129,876              100.00%


eostofGcod~Sold                              323,479            23.71%    $            53,812        17.66% $      44,536      29.85%          27,800       28.86%    $ 35,870          30.29% $       35,287        19.57% $     31,405      18.09%   $   26,574        25.87%             29,819            27 37%    $ 38,366             29.54%

Gtos:?roflt                                 1,040,648           76.29% $              250,994        8234% $ 104,650           70.15%          68,445       71.12%    $   82,533        69.71%    $   145,040       80.43% $ 142,183          81.91% $     76,!Sl        74.13%             79,141            72.63% $       91,510          70.46%


tabor                                        307,409            22.54% $               49.026        16.08%    $   36,345      24.36%          27,886       28.97%        34,145        28.84%    $ 35,788          19.85%    $ 28,341        16,33% $     30,040        29,24):, __ .$   ... 30,612....      2l!.Oi%...$.. __ 35_i26 ........ 2l.12%.. .

Tcu! ?;r,ffoll&Tl:UUI~                       307,409            22.54% $               49,026        16.08% $      36,345      24.36%           27,886      28.97%    $ 34,145          28.84%         35,788        19,85% $     28,341      16,33% $     30,040        29.24%      $      30,612            28.09%    $ 35,226             27.12%


ew,cr1C111£11.p,i,r,*l.l

Advcrtfdng/lnnptndTtlK                        36,594             2.68% $                5,358         2.09% $       4,S01       3.22%      $    3,202        3.33% $        4,053        3.42% $        4,109        2.28% $       3,878       2.23%   $    2,944         2.87%      $       3,272             3,00%    $     3,977            3.06%
Rovi}!Jcs-                                    41,167             3.02% $                7,153         2.35% $       5,401       3.62%      $    3,602        3.74% $        4,559        3.85% $        4,623        2.56% $       4,362       2.51%   $    3,312         3.22%      $       3,681             3.38%    $     4,474            3,44%
Raa!EnflcT~"                                  17,955             1.32% $                2,157         0.71.%                    0.00%      $    2,180        2.27% $        2,887        2.44% $        2:,215       1,23% $       3,092       1.78%   $    3,317         3.23%      $       2,097             1,92%                           0.00%
lbnt                                          53,417             3.92% $                i,500         2.46%                     0.00%      $    5,417        5.63% $        6,250        5.28% $        7,500        4.16% $       7,500       4.32%   $    6,250         6.08%      $       5,833             5.35%    $ 7,167               S.S2%
foul S11r1,u Kiri& l;~p,Gr1$U                149,133            10.93% $               23,176         7.50% $      10,202       6.84%      $   14,401       14.96% $       17,749       14.99%         18,447       10.23% $      18,832      10.85%   $   15,823        15.40%      $      14,883            13.66%    $ 15,618             12.03%

0.ncm s.Admrnr•:rti1111~~i,u


Q11i:!_ltC1rd & 811nkCh:ar4.u          $      15,SOS             1.14% $                2.422         0. 75% $      1,861        1.25%     $     1,171        1,22%   $     1,706        1.44%    $     1,692         0.94%   $    1,869       1,08% $      1,639         1.60%              1,977             1.81 % $       1,168            0.90%
!>.:tvroll Pr0e4ii:J!n.t AII Sf:Cl'M
                       0               $       3,434             0.25% $                2,638         0.87%                     0.00%                        0.00%                       0.00%                        0.00%                    0.00%                      0.00%                                0.00% $          796            0.61%
0-'flcs                                $       1,382             0.10% $                  722         0.24%                     0.00%                        0.00%                       0.00%                        0.00%                    0,00%                      0.00%      $           394           036% $           266            0.20%
TonvPer>doHi:io                        $                         0.00%                                0.00%                     O.OIJ'fe                     0.00%                       0.00%                        0,00%                    0.00%                      0.00%                                0,00%                           0.00%
~,Till!                                $      59,174             4.34% $               11,974         3.93% $       8,771       2.88%      $     6,303       2.07% $        7,363        2.42% $        6,948         2.28% $      6,786       2.23% $      5,109         1.68%      $       5,.920            5,43%                           0.00%
Mafntcn:mc:u &R.•~TM:                  $      29,489             2.16% $                4,709         1.54% $       6,003       4.02%      $     2,057       2.14% $        2,536        2.14% $        5,055         2.80% $      2,204       1.27% $      1,586         1.54%      $       3,ZU              2,95% $        2,128            1.64%
P.ayrd! Advanee:c                      $                         0.00%                                0.00%                     0.00%-                       0.00%                       0.00%                        0,00%                    0.00%                      0.00%                                0.00%                           0.00%
Wldffli;>11C:ar•                       $           S,402         0.40%    $               342         0.11% $         558       0.37%                        0.00% $         696         0.59% $         332          0.18% $        931       0.54% $        937         0.91%      S           883           0.81% $           717           055%
llankC"lilrg:cs                        $       1,932             0.14% $                1,932         0.63%                     0.00%                        0.00%                       0.00%                        0,00%                    0,00%                      0.00%                                0.00%                           0.00%
U\flltlu/Come11rt                       $     10,801             0.79% $                1,249         0.41% $       3,942        2.64% $           963        1.00%   $      475         0.40%    $       955         0.53% $        595       0,34% $        617         0.60%      $           688           0.63% $        1,317            1.01%
1'1,.,.t·Bratn•rd                       $                        0.00%                                0.00%                      0.00%                        0.00%                      0.00%                        0.00%                    0.00%                      0.00%                                0.00%                           0.00}'0
Rlflll E:t.1te Ta,cw.atafnetr:I         $                        0.00%                                0.00%                     ().00%                       0.00%                       0.00%                        0.00%                    Q.0,0%                     0.00%                                0.00%                           0.00%,
ltm11,ne1t                              $      24r55-1           1.80%                  2,736          0.90% $      2,801        1.88%     $     2,592       2.69%    $     2,656        2.24%    $     2,770         1.54% $      2,770       1,60% $      2,624         2.55%      $       Z,650             2.43% $        2,952            2.27%
UOll'IH/Fa1ml'III,                      $                        0.00%                                 0.00%                     0.00%                        0.00%                      0.00%                        0.00%                    0,00%                      0.00%                                0.00%                           0.00%
Seeurl'.W                               $      11962                                                           $                 0.00%                       0.00%                       0.00%                        0.-00%                   0:00%                      0.00%      $          10             0.06% $        1,892            1.46%
Q:utAwovftO<:ontultmti                  $     76,261                                   10,724                  $   11,012        6.34% $         7~918       4.56% $        5,429        3.13%    $     8,781         5.06% $      9,494       5.47% $      8,402         4.84%      $       7,536             6.92% $        6,955            536%
USTNrtd                                 $                                                                      $                 0.00%                       0.00%                       0.00%                        0.000/o                  0.00%                      0.00%                                0.00%                           0.00%
                                        $                                                                    $                   0.00%                       0.00%                       0.00%                        0.00%                    0.00%                      0.00%                                0.00%                           0.00%
foi~I Geri'! & AdmJ~l(l:!~tU            ~    229!893            15.85%                 39r44S         12.9d% $ 34,948           23.43%     $ 21:004         21.82% $       20,861       17 .62% $      26,533        14.71% $     24,655      14.ZO% $     20,914         6.33% $           23,329            12.00%    $    18,201            4.92%
T~Opcr~tlonE,ipll'l$111S                $     6.86i43S          50.32% $              111,652         36.63% $     81,495       54.63% $        63,291      65.76% $       72,755       61.45% $       80,768        44.79% $     71,828      41.38% $     66,777         7.29% $           68,824            12,62% $       69,045            S.68ii
Nn:Oshlncr•a•fromOpcra1fW1t             $     354,21>           25.97% $              139,342         45.71% $     23,155       15.52% .$        S,155       5,36% S        9,778         8,26%   $    64,272        35.64% $     70,355      40.53% $      9,374         9.13% $           10,317             9.47% $       22,465           17.30%

NotaPl','im!nU&Tum:ftr,
TAiufarato4006&4663&72:;;5                   273,370             7.0.0%               149,370         49.00% $      6,000        4.02%                        0.00%   $     5,000        4.22%    $ 60,000           33.27%   S 35,000        20.16%   $    7,000         6.81% $            6,000             5.5!% $        5,000            3.85%
                                              16,252              1.2%                  1,427          0.47% $      4,836        3,24% $         1.427        1.48%   $     1,427        1.21%    $ 1,427             0.79% $      1,427       0,82%   $    1,427         1.39% $            1.427             1.31% $        1,427            1.10%
....
PNCt:qulpmwntFfn11ndn,


N-ofM>tlOl'l
                                               1,494
                                               4,305
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                                                                                                                                                                                                                                     504
                                                                                                                                                                                                                                               0.10%
                                                                                                                                                                                                                                               0.29% $
                                                                                                                                                                                                                                                       $      166
                                                                                                                                                                                                                                                              483
                                                                                                                                                                                                                                                                          0.16% $
                                                                                                                                                                                                                                                                          0.47% $
                                                                                                                                                                                                                                                                                               166
                                                                                                                                                                                                                                                                                               483
                                                                                                                                                                                                                                                                                                               0,15% $
                                                                                                                                                                                                                                                                                                               044% $
                                                                                                                                                                                                                                                                                                                                166
                                                                                                                                                                                                                                                                                                                              1,749
                                                                                                                                                                                                                                                                                                                                               0.13%
                                                                                                                                                                                                                                                                                                                                               1.35%
Padli'clbnk                                    4,911              C.4%                                 0.00%                                                          $     4,911                                     0.00".4                  0,00%                      0.00%                                0.1)0%                          0.00%
                                                   5,349          0.4%                  1,459          0.48% $      2,193                                                                                             0.00%                    0.00% $      1,500         1.46%                 197            0.18%                           0.00%
""'"'
Tot:MHoto?~n,am:s& Trftl'ISt.i~~              305,681           22:.41%               152,422         50.00% $     13,195        737%            2,085        2.17% $      12,008         5.99%   $    61,683        34.21%   $ 37,097        21.37% S     10,576        10.30%               8,273            7 .59% $       8,342            6.42%
N~CathFlffiYlrKl'Ril::11'                      48,532            3.S.S%                (13,080}       -4.29%        9,960        3.15%     $     3,070        3.19% $      (2,230)        2.26% S       2,589         1.44%   $ 33,258        19.16%   $    (1,202)      -1.17% $            2,044             1.88% $       14,123           10.87%
